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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

   KENTUAN LANIER XAVIER SHAKKUR ROUSE,                                )
    individually and on behalf of all other persons                    )
                   similarly situated,                                 )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 24-CV-4850
                                                                       )
   1 LIFE FIRE SAFETY, CORP., ABC FIRE LIFE                            )
   SAFETY INC., CLIFTON DUGGAN, and AGYEI                              )
                   DUGGAN,                                             )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) 1 Life Fire Safety, Corp.,
                                           3256 Steinway St, Fl 2,
                                           Astoria, NY 11103




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Danny Grace PLLC
                                           225 Broadway, Suite 1200,
                                           New York, NY 10007



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:             07/17/2024                                                          Brenna B. Mahoney by: Roseann Guzzi
                                                                                           Signature of Clerk or Deputy Clerk
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 Civil Action No. 24-CV-4850

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
Case
 Case1:24-cv-04850-AMD-CLP
      1:24-cv-04850-AMD-CLP Document
                             Document11-1
                                      15 Filed
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 KENTUAN LANIER XAVIER SHAKKUR
 ROUSE, individually and on behalf of all other
 persons similarly situated,
                                                        Case No.: 24-CV-4850 (AMD)(CLP)
                              Plaintiff,

                      v.                           Rider With the Name & Addresses of
                                                         All Defendants Included
 1 LIFE FIRE SAFETY, CORP., ABC FIRE LIFE
 SAFETY INC., CLIFTON DUGGAN, and
 AGYEI DUGGAN.


                              Defendants.

Exhibit to Plaintiff’s Proposed Summons – Rider with the Name and Addresses of all
Defendants Included

   1. Defendant 1 Life Fire Safety, Corp.’s last known mailing address:
      3256 Steinway St, Fl 2,
      Astoria, NY 11103
   2. Defendant ABC Fire Life Safety Inc’s last known mailing address:
      3272 Steinway Street,
      Astoria, New York, 11103
   3. Defendant Mr. Clifton Dugga’s last known mailing address:
      2750 Holland Ave
      Bronx, NY 10467-8710
   4. Defendant Mr. Agyei Duggan’s last known mailing address:
      23308 Mentone Ave,
      Rosedale, NY 11422-1912


  Dated: July 16, 2024
         New York, New York                       Respectfully submitted,

                                                         / S/
                                                   YUTING LI, ESQ.
                                                   DANNY GRACE PLLC
                                                   ATTORNEYS FOR PLAINTIFF
                                                   225 BROADWAY, SUITE 1200
                                                   NEW YORK, NY 10007
                                                   (212) 202-2485
                                                   yuting@dannygracepc.com
